1    McGREGOR W. SCOTT
     United States Attorney
2    ANNE PINGS
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2785

5
6
7
8              IN THE UNITED STATES DISTRICT COURT FOR THE
9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )         CR. NO. S-05-0238-FCD
                                   )
12                  Plaintiff,     )
                                   )         STIPULATION AND ORDER
13                                 )         REVISING BRIEFING SCHEDULE
          v.                       )         AND SETTING NEW DATE FOR
14                                 )         MOTIONS HEARING
                                   )
15   DALE C. SCHAFER, and          )
     MARION P. FRY,                )         Date: December 21, 2005
      aka Mollie P. Fry,           )         Time: 9:00 a.m.
16                                 )         Hon. Frank C. Damrell, Jr.
                    Defendants.    )
17   ______________________________)
18        It is hereby stipulated and agreed, by and between the
19   defendants, Dale Schafer and Marion Fry, by and through counsel,
20   Laurence Lichter, and the United States, through its counsel,
21   Assistant United States Attorney Anne Pings, to vacate the
22   motions hearing date of December 5, 2005, and to set a new
23   motions hearing date of December 21, 2005, at 9:00 a.m.         This
24   specially-set hearing time was approved by the Court's deputy
25   clerk.
26        The defendants previously sought and received additional
27   time to file their affirmative motions.      On October 4, 2005, the
28
                                       -1-
1    defendants filed 17 pre-trial motions, all requiring a response.
2    The government's oppositions were originally due November 1.
3    Requiring the government to respond to 17 motions in 28 days
4    would have allowed only 1 and a ½ days to research and draft a
5    response to each motion.1    Unfortunately, the prosecutor was out
6    of the state for training for 7 of those 28 days, thereby
7    decreasing her ability to research and file meaningful responses
8    to the motions within the time frame.
9         The government has made substantial progress on its
10   oppositions and intends to file them on a rolling basis, thereby
11   allowing the defendants to reply on a rolling basis, so as not to
12   unnecessarily delay the progress of this case.
13        The parties have agreed to the following schedule:
14                               Current Date   New Date
15   Gov't oppositions due:      11/1/05        No later than 12/5/05
16   Def's replies due           11/15/05       No later than 12/12/05
17   Motions Hearing             12/5/05        12/21/05 at 9:00 a.m.
18        Time would be excluded under the Speedy Trial Act for the
19   pendency of motions.
20        Mr. Lichter represented to the undersigned prosecutor that
21   he would agree to the schedule on behalf of defendant Schafer and
22   had authority to agree to the schedule on behalf of defendant
23   Fry's counsel, J. Tony Serra.
24
25
26
27        1
           This Court ordered the defendants to calendar 3 of
28   the 17 motions in the magistrate court. This has not been done.

                                       -2-
1    DATED: October 31, 2005         Respectfully submitted,
2                                    McGREGOR W. SCOTT
                                     United States Attorney
3
                                     /s/ Anne Pings
4                                    Assistant U.S. Attorney
5                                    /s/ Laurence J. Lichter
                                     by Asst. U.S. Attorney Pings
6                                    with permission
7                                    /s/ J. Tony Serra
                                     by Asst. U.S. Attorney Pings
8                                    with permission of L. Lichter
9
10        IT IS SO ORDERED.
11
12   Dated: October 31, 2005         /s/ Frank C. Damrell Jr.
                                     HON. FRANK C. DAMRELL, JR.
13                                   UNITED STATES DISTRICT JUDGE
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                               -3-
